Case 2:22-cv-01216-RSL-SKV Document 1-8 Filed 08/30/22 Page 1 of 3




                    EXHIBIT E
        Case 2:22-cv-01216-RSL-SKV Document 1-8 Filed 08/30/22 Page 2 of 3




Am a zo n An ti-Co u n te rfe itin g P o lic y
P u b lis h e d 6/16/20
P ro d uc ts o ffe re d fo r s a le o n Am a zo n m u s t b e a u th e n tic . Th e s a le o f c o u n te rfe it p ro du c ts is
s tric tly p ro h ib ite d . Fa ilu re to a b id e b y th is p o lic y m a y re s u lt in lo s s o f s e llin g p rivile g es ,
fu nd s b e in g with h e ld , an d d is p o s a l o f in ve n to ry in o u r p o s s e s s io n .
It is e a ch s e lle r’s a nd s upplie r’s res pons ibility to s ource , s e ll, a nd fulfill only a uthe ntic products .
P rohibite d products include bootle gs , fa ke s , or pira te d copie s of products or conte nt; products tha t
ha ve be e n ille ga lly re plicate d, re produce d, or ma nufa cture d; a nd products tha t infringe a nothe r
pa rty’s inte lle ctua l prope rty rights . If you s e ll or s upply ina uthe ntic products , we ma y immedia te ly
s us pe nd or te rmina te your Ama zon s e lling a ccount (a nd a ny re la te d a ccounts ) a nd dis pos e of a ny
inauthe ntic products in our fulfillme nt cente rs a t your e xpe ns e . In a ddition, we do not pa y s e lle rs until
we a re confide nt our cus tome rs ha ve re ce ived the a uthe ntic products the y orde re d. We may
withhold pa yme nts if we de te rmine tha t a n Ama zon a ccount ha s be e n us e d to s e ll ina uthe ntic goods ,
commit fra ud, or e nga ge in othe r ille ga l a ctivity.
We work with ma nufa cture rs , rights holde rs , conte nt owne rs , ve ndors , a nd s elle rs to improve the
wa ys we de te ct a nd pre ve nt ina uthe ntic products from re a ching our cus tome rs . As a re s ult, we
re move s us pe ct lis tings ba s e d on our own re view of products . We a ls o work with rights holde rs a nd
law e nforce me nt worldwide to ta ke a nd s upport lega l a ction a ga ins t s e lle rs a nd s upplie rs tha t
knowingly viola te this policy a nd ha rm our cus tome rs . In a ddition to crimina l fine s a nd impris onme nt,
s e lle rs a nd s upplie rs of ina uthe ntic products ma y fa ce civil pe na ltie s including the los s of a ny
a mounts re ce ive d from the s a le of ina uthe ntic products , the da ma ge or ha rm s us ta ine d by the rights
holde rs , s ta tutory a nd othe r da ma ge s , a nd a ttorne y’s fe e s .
Ama zon s trive s to e ns ure a trus tworthy s hopping e xpe rie nce for our cus tome rs . By s e lling on
Ama zon, you a gre e tha t:

          The s a le of counte rfe it products is s trictly prohibite d.
          You ma y not s ell a ny products tha t a re not le ga l for s a le , s uch a s products tha t ha ve be e n
          ille ga lly re plica te d, re produce d, or ma nufa cture d
          You mus t provide re cords a bout the a uthe nticity of your products if Ama zon reque s ts tha t
          docume nta tion

Fa ilure to a bide by this policy ma y re s ult in los s of s elling privilege s , funds be ing withhe ld,
de s truction of inve ntory in our fulfilme nt ce nte rs , a nd othe r le ga l cons eque nce s .


Mor e infor mation
          S e ll Only Authe ntic a nd Le ga l P roducts . It is your res pons ibility to s ource , s e ll, a nd fulfill only
          a uthe ntic products tha t a re le ga l for s ale . Exa mple s of prohibite d products include :
                o Bootle gs , fa ke s , or pira te d copies of products or conte nt
                o P roducts tha t ha ve be e n ille ga lly re plica te d, re produce d, or ma nufa cture d
                o P roducts tha t infringe a nothe r pa rty’s inte lle ctua l prope rty rights
          Ma intain and P rovide Inve ntory Re cords . Ama zon ma y re que s t tha t you provide
          docume nta tion (s uch a s invoice s ) s howing the a uthe nticity of your products or your
          a uthoriza tion to lis t the m for s a le . You ma y remove pricing informa tion from the s e
          docume nts , but providing docume nts tha t ha ve be e n e dite d in a ny othe r wa y or tha t a re
          mis le a ding is a viola tion of this policy a nd will le ad to e nforce me nt a ga ins t your a ccount.
          Cons e que nce s of S e lling Ina uthe ntic P roducts . If you s e ll ina uthentic products , we ma y
          imme dia tely s us pe nd or te rmina te your Ama zon s e lling a ccount (a nd a ny re la te d a ccounts ),
Case 2:22-cv-01216-RSL-SKV Document 1-8 Filed 08/30/22 Page 3 of 3



de s troy a ny ina uthe ntic products in our fulfillme nt ce nte rs a t your e xpe ns e , a nd/or withhold
pa yme nts to you.
Ama zon Ta ke s Action to P rote ct Cus tome rs a nd Rights Owne rs . Ama zon als o works with
ma nufa cture rs , rights holde rs , conte nt owne rs , ve ndors , a nd s elle rs to improve the wa ys we
de te ct a nd pre ve nt ina uthe ntic products from re a ching our cus tome rs . As a re s ult of our
de te ction a nd e nforce me nt a ctivitie s , Ama zon ma y:
     o Re move s us pe ct lis tings .
     o Ta ke le ga l a ction a ga ins t pa rtie s who knowingly viola te this policy a nd ha rm our
          cus tome rs . In a ddition to crimina l fine s a nd impris onme nt, s e lle rs a nd s upplie rs of
          inauthe ntic products ma y fa ce civil pe na ltie s including the los s of any a mounts
          re ce ive d from the s a le of ina uthe ntic products , the da ma ge or ha rm s us ta ine d by the
          rights holde rs , s ta tutory a nd othe r da ma ge s , a nd a ttorne y’s fe e s .
Re porting Ina uthe ntic P roducts . We s ta nd be hind the products s old on our s ite with our A-to-
z Gua ra nte e , a nd we e ncoura ge rights owne rs who ha ve product a uthe nticity conce rns
to notify us . We will promptly inve s tiga te a nd ta ke a ll a ppropria te a ctions to prote ct
cus tome rs , s elle rs , a nd rights holde rs . You ma y vie w counte rfe it compla ints on the Account
He a lth pa ge in S e lle r Ce ntra l.
